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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

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HALEY LANGERT, on behalf of herself        )
and all others similarly situated,         )
                                           )
                               PLAINTIFF,  )
                                           )
V.                                         )           Civil Action No. 1:20-cv-00944
                                           )
GEORGE MASON UNIVERSITY, AND JAMES )
W. HAZEL, HORACE BLACKMAN, SIMMI )
BHULLER, ANJAN CHIMALADINNE,               )
THOMAS M. DAVIS, JUAN CARLOS               )
ITURREGUI, MEHMOOD S. KAZMI, WENDY )
MARQUEZ, IGNACIA S. MORENO,                )
CAROLYN J. MOSS, JON M. PETERSON,          )
NANCY GIBSON PROWITT, PAUL J.              )
REAGAN, EDWARD H. RICE, DENISE             )
TURNER ROTH, AND BOB WITECK,               )
                                           )
                               DEFENDANTS. )
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                       STIPULATION OF VOLUNTARY DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties, as evidenced

by the endorsements of counsel below, that the above-captioned action is voluntarily dismissed,

without prejudice, as to each defendant pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii), with each party to bear its own costs and attorneys’ fees.



                         [ENDORSEMENTS ON FOLLOWING PAGE]




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                                         RESPECTFULLY SUBMITTED:



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